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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      11/15/2021


In re:
                                                                      03-MD-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                   ORDER

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SARAH NETBURN, United States Magistrate Judge:

This document relates to:

         Faulkner v. Bin Laden et al., No. 09-cv-07055

         On November 10, 2021, the Court held a hearing to determine how this litigation should

proceed given the apparent collapse of the Islamic Republic of Afghanistan and the withdrawal

of the Republic’s counsel. This Order sets the schedule for further proceedings based on that

hearing.

         At the time of the Republic’s disintegration, there was (and remains) a fully briefed

motion for summary judgment pending. ECF Nos. 164, 177, 180. That briefing suggests that a

key factual dispute is if the Taliban was the government of Afghanistan during a period from

1996 to 2001. Compare ECF No. 165 at 34 (“[T]he Taliban was not the de facto government of

[Afghanistan] during the relevant period. As such, its actions cannot be attributed to the

Republic.”) with ECF No. 177 at 17 (“[T]he evidence confirms[] that the Taliban regime was in

‘de facto’ control of Afghanistan from 1996 through December 2001.”)

         Notwithstanding this fully briefed motion, the Plaintiffs suggest that the appropriate next

step is to move to default proceedings. Those proceedings, however, might still require

consideration of the questions raised in that summary judgment motion. See 28 U.S.C. § 1608(e)

(“No judgment by default shall be entered by a court of the United States or of a State against a
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foreign state . . . unless the claimant establishes his claim or right to relief by evidence

satisfactory to the court.”) Additionally, assuming default proceedings should be initiated, it

remains important to know whether the Republic, even if it has defaulted, remains the

appropriate entity to charge with representing the Afghan state. Title 28, § 1608(e) of the U.S.

Code for example, requires that a default judgment be sent to the foreign state, making it

important for the integrity of these proceedings that the Court attempt to learn what entity is

authorized to represent Afghanistan.

       Furthermore, the Court recognizes that the questions of Afghanistan’s government both

today and from 1996 to 2001, may involve extremely delicate diplomatic considerations. “The

conduct of the foreign relations of our government is committed by the Constitution to the

executive and legislative—‘the political’—departments of the government . . . .” Oetjen v. Cent.

Leather Co., 246 U.S. 297, 302 (1918). Moreover, “the power to recognize foreign states resides

in the President alone . . . .” Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 28 (2015).

Indeed, “recognition of foreign governments so strongly defies judicial treatment that without

executive recognition a foreign state has been called ‘a republic of whose existence we know

nothing….’” Baker v. Carr, 369 U.S. 186, 212 (quoting United States v. Klintock, 18 U.S. 144,

149 (1820)). The government has already stated that it plans to file a statement of interest related

to assets held in the Federal Reserve Bank of New York by Da Afghanistan Bank, the Afghan

central dank. ECF No. 7268. This suggests that the government may also have an interest in

other proceedings in this multidistrict litigation that may adjudicate the rights and obligations of

the Afghan state.

       Accordingly, prior to advancing a case that may require it to opine on the past and

present government of Afghanistan, prudence and interbranch comity urge that this Court give



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the executive branch an opportunity, through 28 U.S.C. § 517, to say if it wishes to take a

position. See, e.g., City of New York v. Permanent Mission of India to the United Nations, 446

F.3d 365, 377 n.17 (2d Cir. 2006) (“[A]fter briefing and argument by the parties, we solicited

and have carefully considered the opinion of the United States in this matter, because the

executive branch’s views on matters implicating relations with foreign states are entitled to

consideration.”); see also Spectrum Stores, Inc. v. Citgo Petroleum Corp., 632 F.3d 938, 952

n.14 (5th Cir. 2011) (“As this case implicates complex and delicate issues of separation of

powers and foreign policy, we requested a Statement of Interest from the United States under 28

U.S.C. § 517.”)

       Thus, the Court ORDERS the Plaintiffs to file a supplemental letter by December 10,

2021, addressing (1) whether the Court should (or must) resolve the motion for summary

judgment, and, if the recommendation is that the Court should not address the motion (2)

whether a default is permissible notwithstanding the collapse of the Islamic Republic of

Afghanistan and the emergence of the Islamic Emirate of Afghanistan. By that same date, the

Plaintiffs’ Executive Committees may either file an additional letter raising any other matters

they deem necessary or join in the Plaintiffs’ letter. Finally, by December 10, 2021, the

government is ORDERED to file a letter stating whether it wishes to file a statement of interest

in this matter and if so, to propose a schedule for doing so.

                                          CONCLUSION

        The Plaintiffs shall file the supplemental letter directed in this Order by December 10,

2021. The PECs may either join in that letter or file a supplemental letter of their own by the

same date. Additionally, by that date, the government shall file a letter stating if it wishes to file

a statement of interest and if so, to propose a schedule for doing so.



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       The Clerk of the Court is respectfully directed to send one copy of this order by mail to

the U.S. Attorney’s Office for the Southern District of New York at 86 Chambers Street, New

York, NY 10007. This Court’s chambers will also send one copy of this order by email to

Assistant United States Attorney Jeannette Anne Vargas and Assistant United States Attorney

Sarah Normand.

       Finally, all parties are reminded that any materials filed in this matter must also be filed

on the MDL docket at 03-md-1570.

SO ORDERED.




DATED:        New York, New York
              November 15, 2021



cc:           Jeannette Vargas (by email)
              Sarah Normand (by email)




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